          Case MDL No. 2406 Document 381-5 Filed 07/07/17 Page 1 of 3
              E-FILED 2017 JUN 14 12:00 PM POLK - CLERK OF DISTRICT COURT




            IN THE IOWA DISTRICT COURT FOR POLK COUNTY


BRADLEY A. CHICOINE, D.C., DR. BRADLEY
A. CHICOINE, D.C., P.C., MARK A. NILES,
D.C, NILES CHIROPRACTIC, INC., ROD R.
REBARCAK, D.C., and BEN WINECOFF, D.C.,
on behalf of themselves and those like
situated,
      Plaintiffs,
and                                                        Law No. CVCV050638
STEVEN A. MUELLER, D.C., BRADLEY J.
BROWN, D.C., BROWN CHIROPRACTIC,
P.C.; MARK A. KRUSE, D.C., DR. MARK A.
KRUSE, D.C., P.C., KEVIN D. MILLER, D.C.,
and LARRY E. PHIPPS, D.C., on behalf of
themselves and those like situated,
      Plaintiffs,
vs.
WELLMARK, INC d/b/a WELLMARK BLUE
CROSS AND BLUE SHIELD OF IOWA, an
Iowa corporation, and WELLMARK HEALTH
PLAN OF IOWA, INC., an Iowa corporation,
      Defendants.



           Plaintiffs’ First Amendment to Petition at Law


       COME NOW Plaintiffs, by and through their undersigned counsel, and hereby

files, pursuant to Iowa R. Civ. P. 1.402(4), this Plaintiffs’ First Amendment to Petition at

Law by stating:




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                                                                              EXHIBIT 3
      Case MDL No. 2406 Document 381-5 Filed 07/07/17 Page 2 of 3
          E-FILED 2017 JUN 14 12:00 PM POLK - CLERK OF DISTRICT COURT




1. Plaintiffs hereby strike the following paragraphs from the Petition at Law filed

   October 5, 2015:

      a. ¶ 3(b);

      b. The first sentence of ¶12 stating “The Blue Cross and Blue Shield

          Association is a non-party co-conspirator with the Wellmark defendants

          for purposes of the Iowa Competition Act.”

      c. ¶ 15. Plaintiffs allege as substituted ¶15 as follows: “15. By agreements

          between Wellmark defendants and each of the other 38 (now 36) BCBSA

          licensees, Wellmark processes and pays Iowa providers for out-of-state

          licensees member claims for provider services for each of the other BCBSA

          licensees. Wellmark defendants have agreed with each of the other

          licensees to fix the price of Iowa chiropractic services in accordance with

          the prices set by Wellmark defendants under terms of the Practitioner

          Services Agreements and the agreement with Iowa Chiropractic Physicians

          Clinic.”;

      d. ¶ 21(b);

      e. ¶39(b);

   Dated June 14, 2017.

                                      __/s/ Glenn L Norris___________
                                      Glenn L. Norris AT0005907
                                      HAWKINS & NORRIS, P.C.
                                      2501 Grand Avenue, Suite C
                                      Des Moines, Iowa 50312-5399
                                      Telephone: 515-288-6532
                                      Facsimile: 515-281-1474
                                      Email: gnorris@2501grand.com
                                         2
           Case MDL No. 2406 Document 381-5 Filed 07/07/17 Page 3 of 3
                E-FILED 2017 JUN 14 12:00 PM POLK - CLERK OF DISTRICT COURT




                                                         gnorrislaw@gmail.com

                                                 Steven P. Wandro AT0008177
                                                 Kara M. Simons AT0009876
                                                 WANDRO & ASSOCIATES, P.C.
                                                 2501 Grand Avenue, Suite B
                                                 Des Moines, Iowa 50312
                                                 Telephone: 515-281-1475
                                                 Facsimile: 515-281-1474
                                                 Email: swandro@2501grand.com
                                                       ksimons@2501grand.com


                                                 ATTORNEYS FOR PLAINTIFFS
                                     CERTIFICATE OF SERVICE


The undersigned certifies that the foregoing instrument was filed on the 14th day of February, 2017 with
the Clerk of Court using the EDMS system, which will send notification of such filing to the counsel of
record.


                                                 __/s/ Glenn L Norris_AT0005907__________

Hayward L. Draper AT0002075
Benjamin P. Roach AT0006588
NYEMASTER GOODE, P.C.
700 Walnut Street, Suite 1600
Des Moines, IA 50309
Telephone: (515) 283-3100
Facsimile: (515) 283-8045
E-mail: hdraper@nyemaster.com
       bproach@nyemaster.com




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